Case 2:05-cr-20212-SHI\/| Document 24 Filed 06/16/05 Page 1 of 2 Page|D 22

FELEK'J »'E`>`:' , }{.. B.C

IN THE UNITED STATES DISTRICT COURT

 

 

FoR THE WESTERN DISTRICT oF TENNESSEE 05 .
wEsTERN DIVIsIoN JUN '5 PH h~ 50
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E?v(§‘§' §jfv BI§T.GE>‘?
UNITED sTATEs oF AMERICA 1 ~ - ‘ f N MEMPH:$
V.
DAVID PATTERSON oscr20212-1-Ma
onl)ER oN ARRAIGNMENT

 

This cause came to be heard on JlLod-L /é_, Me’ the United States Attomey
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME Eé{ M/¢)’? 10 'C/V'L// who is RetainedL.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

_The defendant, Who is not in custody, may stand on his present bond.

/ ______The defendant (-ne-t-he\¥mg-made-bmcl) (being a state prisoner) (beng-e-federal
~prisener) §bemg+reié-witheu'bbend-pursuam'tuB£h*rof-H&é');' is remanded to the custody

of the U. S. Marshal.
,.._._

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:2118(a)
ROBBERY OF CONTROLLED SUBSTANCE

Attorney assigned to Case: T. Arvin
Age: J’/

Thls docl_ment entered on the docket sheet ln compliance
with Fhl|a 55 and/or 32¢!3\ FRCrP on '

a/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-202l2 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Tony R. Arvin

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Honorable Samuel Mays
US DISTRICT COURT

